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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                      CRIMINAL MINUTES - GENERAL




 Case No.       SA21CR00124-JLS-1                                                Date    July 19, 2024


 Present: The Honorable      Josephine L. Staton, United States District Judge

 Interpreter       Not Applicable

         Charles A. Rojas                  Miranda Algorri                          Melissa Rabbani
           Deputy Clerk               Court Reporter/Recorder                    Assistant U.S. Attorney


         U.S.A. v. Defendant(s):       Present Cust. Bond        Attorneys for Defendants: Present App. Ret.


Christopher John Badsey                   X       X             Patrick McLaughlin              X        X



 Proceedings:       (IN CHAMBERS) ORDER CONTINUING SENTENCING HEARING

      The case is called. Counsel make their appearances. The Court and counsel confer. For
reasons stated on the record, the Sentencing Hearing is continued to August 23, 2024 at 9:30 AM.




cc: USPO




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                                                               Initials of Deputy
                                                                            Clerk cr




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